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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

ANIMAL WELFARE INSTITUTE                             )
900 Pennsylvania Avenue S.E.                         )
Washington, D.C. 20003,                              )
                                                     )
and                                                  )
                                                     )
FARM SANCTUARY                                       )
3100 Aikens Road                                     )
Watkins Glen, NY 14891                               )
                                                     )
                       Plaintiff                     )       Civil Action No. 6:18-cv-06626
                                                     )
v.                                                   )
                                                     )
UNITED STATES DEPARTMENT OF                          )
AGRICULTURE                                          )
1400 Independence Ave. S.W.                          )
Washington, D.C. 20250,                              )
                                                     )
FOOD SAFETY AND INSPECTION                           )
SERVICE                                              )
1400 Independence Ave. S.W.                          )
Washington, D.C. 20250                               )

                   UNOPPOSED MOTION FOR EXTENSION OF TIME

       In light of several serious personal matters and professional obligations for Plaintiffs’

counsel, Plaintiffs respectfully request an extension of time until November 16, 2018 to file a

response to Defendants’ Motion to Dismiss, ECF Nos. 5, 6. This request is necessary in light of

the passing away of the mother of Plaintiffs’ lead counsel, which has required him to devote time

(and will continue to require such devotion of time) to personal familial obligations.

Additionally, Plaintiffs’ lead counsel has several pressing and unavoidable professional

obligations this month, including preliminary injunction briefing in another case, as well as

hearings in federal court in Nevada and Utah.

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       Plaintiffs’ counsel has consulted counsel for Defendants regarding this motion.

Defendants do not object to this motion, and the parties have worked out a mutually agreeable

schedule that accommodates Plaintiffs’ lead counsel’s personal and professional obligations as

well as professional obligations for Defendants’ counsel. Thus, for good cause shown, Plaintiffs

respectfully request that the Court modify the deadlines for the response brief and reply brief

regarding Defendants’ Motion to Dismiss according to the following schedule:

              Plaintiffs’ response brief due by Friday, November 16, 2018.

              Defendants’ reply brief due by Monday, December 31, 2018.

                                                 Respectfully submitted,

                                                 /s/ William N. Lawton

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